Case 2:17-cv-OO785-S|\/|V-GBW Document 11 Filed 08/21/17 Page 1 of 1

United States District Court

       

Dtstmt of New Mexcco
Office of e Clerk , , , ,
Pete `S‘J Domenici Unitthed States Courthouse D‘ws'°"al Ofms
’ 106 South F ederal Place
Santa Fe, NM 8750]
333 Lomas Blvd. N.W. - Suite 270 (505) 988-6481
.y,,,._'.,> t Albuquerque, New Mexico 87102 Fax (505) 988-6473
' (505) 348-2000 - Fax (505) 348-2028
Matthew J. Dykman 100 Nonh church street
Clerk of Court Las Cruces, NM 88001

(575) 523.1400
Fax (575) 528-1425

` August 21, 2017

Third Judicial District Court
201 W. Picacho
Las Cruces, NM 88005

RE: Steven M. Elias VS. Mark Bieri, M.D et. al

No. 17-CV-785 SMV/GBW

Dear Sir or Madam:

Please find enclosed a certified copy of the Order of Remand signed by U.S. Magistrate Judge
Stephan M. Vidamr, along with copies of the entire original case file remanding this case to your

Court.

Please acknowledge receipt of these records by returning a copy of this letter to this office.

MATTHEW J. DYKMAN, Clerk

 

Enclosures
cc: Counsel of Record

Acknowledged by:

 

